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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JUNE
28, 2010

&nbsp;



&nbsp;

THE STATE OF TEXAS, APPELLANT

&nbsp;

v.

&nbsp;

MEREDITH JOLENE LOZANO, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE COUNTY COURT OF YOAKUM
COUNTY;

&nbsp;

NO. 10624; HONORABLE JIM BARRON, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

The
State of Texas, by interlocutory appeal, appeals the granting of a motion to
suppress by the trial court.[1]&nbsp; Finding that the trial court erred by
granting the motion to suppress, we reverse.

Factual and Procedural Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
the facts that resulted in the issuance of a search warrant to collect a
specimen of blood from appellee, Meredith Jolene
Lozano (Lozano), are not contested in this appeal, we will refer to only so
much of the background facts as necessary for this opinion.&nbsp; On May 25, 2008, Denver City, Texas, police
officer, Ryan Taylor, initiated a traffic stop on Lozano.&nbsp; After initiating the traffic stop, Taylor
began investigating Lozano for driving while intoxicated.&nbsp; As part of the investigation, Taylor
requested a specimen of Lozano’s breath for analysis.&nbsp; Lozano declined to give a breath
specimen.&nbsp; Taylor then prepared an
affidavit in support of a search warrant to obtain a specimen of Lozano’s
blood.&nbsp; The affidavit was presented to a
Justice of the Peace, acting as a magistrate, in Yoakum County, Texas.&nbsp; The magistrate issued the search warrant, and
the blood specimen was collected.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After
the State filed an information and complaint alleging that Lozano had operated
a motor vehicle while intoxicated, Lozano filed a motion to suppress the
results of the search warrant.&nbsp; The
motion to suppress alleged two grounds in support of suppression of the blood
test results.&nbsp; First, the motion alleged
that the officer lacked reasonable suspicion or probable cause to stop
Lozano.&nbsp; Second, the motion alleged that
there was a discrepancy between the date of birth for Lozano stated in the
affidavit in support of the warrant and the date listed in the actual
warrant.&nbsp; The trial court conducted a
hearing on Lozano’s motion to suppress and, after hearing the evidence, denied
the motion to suppress as to the reasonable suspicion or probable cause to
initiate the traffic stop but granted the motion because of the discrepancy
between the affidavit and warrant as to Lozano’s date of birth.&nbsp; By one issue, the State contends that the
ruling of the trial court was in error and asks this Court to reverse the trial
court’s ruling.&nbsp; We reverse.

&nbsp;
Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As
a reviewing court, we review the granting or denial of a motion to suppress
under a bifurcated standard of review.&nbsp; See St. George v. State, 237 S.W.3d 720, 725 (Tex.Crim.App. 2007).&nbsp;
The trial court is the sole trier of fact and
the judge of the credibility of the witnesses and the weight to be given their
testimony.&nbsp; Id.&nbsp; Almost total deference is given to the trial
court’s determination of historical facts.&nbsp;
Id.&nbsp; However, application
of the law to the facts that does not turn on credibility and demeanor are
reviewed de novo.&nbsp; See Keehn
v. State, 279 S.W.3d 330, 334 (Tex.Crim.App.
2009).

Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court’s order granting the motion to suppress concluded that there was
reasonable suspicion and probable cause to support the detention of Lozano for
suspicion of driving while intoxicated.&nbsp;
However, the trial court found that the search warrant was insufficient
because the warrant gave a different date of birth for Lozano than that
reflected in the affidavit.&nbsp; Based upon
this finding, the trial court suppressed the evidence that was procured by
means of the search warrant.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; With
this factual basis, we are squarely presented with the issue of how we
interpret the information provided in this search warrant.&nbsp; The State frames the question as being one of
using a commonsensical, rather than hyper-technical, interpretation of the
warrant.&nbsp; See Serrano v. State,
123 S.W.3d 53, 58 (Tex.App.—Austin 2003, pet. ref’d) (citing Illinois v. Gates, 462 U.S. 213, 236,
76 L.Ed.2d 527, 103 S.Ct. 2317 (1983)).&nbsp; Appellant, however, contends that the mistake
on the warrant is much more than a technical mistake.&nbsp; The mistake in question goes directly to the
issue of the identification of appellant and, as such, is part of the
protection provided by the Fourth Amendment to minimize the search of innocent
parties.&nbsp; See Long v. State,
132 S.W.3d 443, 447 (Tex.Crim.App.
2004).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
record reveals that the affidavit in support of the search warrant was attached
to the actual warrant and incorporated by reference in the warrant.&nbsp; See id. at 448.&nbsp; This is an important consideration when there
is a discrepancy in a description contained in the two documents.&nbsp; As stated by the Texas Court of Criminal
Appeals in Green v. State, the affidavit given to secure a search
warrant controls over the search warrant.&nbsp;
799 S.W.2d 756, 760 (Tex.Crim.App.
1990).&nbsp; The affidavit in question
contained the correct date of birth for Lozano.&nbsp;
Only in the warrant was there a mistake on the date of birth.&nbsp; It is upon the basis of the affidavit that
the magistrate must decide whether there is probable cause for the issuance of
a warrant and against whom the warrant should be issued.&nbsp; See id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Therefore,
when we return to one of the basic principles behind the requirement of a
warrant, minimizing the danger of searching the person of an innocent
bystander, we find that the affidavit correctly describes the person to be
searched.&nbsp; See Long,
132 S.W.3d at 447 (citing Berger v. New York, 388 U.S.41, 58, 18 L.Ed.2d
1040, 87 S.Ct 1873 (1967)).&nbsp; Appellant concedes that the affidavit
contains the correct date of birth.&nbsp; And
both the affidavit and warrant correctly identify appellant as the person whose
blood was to be taken, by name as “Meredith Jolene Lozano.”&nbsp; The other identifying information in the
affidavit, including appellant’s description as a “white female” and her
approximate height and weight, also was correctly stated in the warrant.&nbsp; According to both the affidavit and the
warrant, appellant was in custody in the Denver City police department at the
time.&nbsp; The erroneous date of birth
contained in the warrant is no more or less than a typographical mistake and,
as such, does not vitiate the validity of the warrant.&nbsp; See Jones v. State, 914 S.W.2d
675, 678 (Tex.App.—Amarillo 1996, no pet.); Rios
v. State, 901 S.W.2d 704, 708 (Tex.App.—San
Antonio 1995, no pet.).&nbsp; Accordingly, we
hold that the trial court erred by granting the motion to suppress.&nbsp; The State’s issue is sustained.

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Having
determined that the trial court erred by granting the motion to suppress, we
reverse the trial court and remand this case for further proceedings consistent
with this opinion.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Mackey
K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Do not publish.&nbsp; 

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 








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[1] See Tex.
Code Crim. Proc. Ann. art.
44.01(a)(5) (Vernon Supp. 2009).







